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                                 UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF NEVADA


  In re:                                          §    Case No. 2:13-BK-20495-MKN
                                                  §
  Daniel John Tarkanian                           §
  Amy Michelle Tarkanian                          §
                                                  §
                      Debtor(s)                   §

           CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION REPORT
           CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                      AND APPLICATION TO BE DISCHARGED (TDR)

          William A. Leonard, Jr., chapter 7 trustee, submits this Final Account, Certification that
  the Estate has been Fully Administered and Application to be Discharged.

       1)       All funds on hand have been distributed in accordance with the Trustee’s Final
Report and, if applicable, any order of the Court modifying the Final Report. The case is fully
administered and all assets and funds which have come under the trustee’s control in this case
have been properly accounted for as provided by law. The trustee hereby requests to be
discharged from further duties as a trustee.

       2)      A summary of assets abandoned, assets exempt, total distributions to claimants,
claims discharged without payment, and expenses of administration is provided below:



Assets Abandoned:             $545,581.93             Assets Exempt:        $1,224,124.54
(without deducting any secured claims)



Total Distributions to                                Claims Discharged
Claimants:                        $55,743.16          Without Payment:      $36,942,202.80

Total Expenses of
Administration:                   $63,528.77


        3)      Total gross receipts of $119,271.93 (see Exhibit 1), minus funds paid to the
debtor(s) and third parties of $0.00 (see Exhibit 2), yielded net receipts of $119,271.93 from the
liquidation of the property of the estate, which was distributed as follows:




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                                   CLAIMS             CLAIMS            CLAIMS              CLAIMS
                                 SCHEDULED           ASSERTED          ALLOWED               PAID
  Secured Claims
  (from Exhibit 3)                 $248,000.00               $0.00              $0.00             $0.00
  Priority Claims:
      Chapter 7 Admin.
      Fees and Charges                     NA           $63,528.77        $63,528.77        $63,528.77
       (from Exhibit 4)
      Prior Chapter Admin.
      Fees and Charges                     NA                $0.00              $0.00             $0.00
      (from Exhibit 5)
      Priority Unsecured
      Claims                             $0.00               $0.00              $0.00             $0.00
      (From Exhibit 6)
  General Unsecured
  Claims (from Exhibit 7)        $35,024,534.86      $19,113,666.2     $19,113,666.2        $55,743.16
                                                                 7                 7

                                 $35,272,534.86      $19,177,195.0     $19,177,195.0       $119,271.93
    Total Disbursements                                          4                 4

        4). This case was originally filed under chapter 7 on 12/19/2013. The case was pending
  for 28 months.

       5). All estate bank statements, deposit slips, and canceled checks have been submitted to
  the United States Trustee.

        6). An individual estate property record and report showing the final accounting of the
  assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for
  each estate bank account, showing the final accounting of the receipts and disbursements of
  estate funds is attached as Exhibit 9.

       Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
  foregoing report is true and correct.

         Dated: 04/13/2016                            By: /s/ William A. Leonard, Jr.
                                                      /Wi Trustee
                                                      llia
                                                      m
                                                      A.
                                                      Leo
                                                      nar
  STATEMENT: This Uniform Form is associated with an open
                                                      d, bankruptcy case, therefore, Paperwork Reduction
  Act exemption 5 C.F.R. § 1320.4(a)(2) applies.
                                                      Jr.




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                                                 EXHIBITS TO
                                                FINAL ACCOUNT

 EXHIBIT 1 – GROSS RECEIPTS

                        DESCRIPTION                                      UNIFORM                          AMOUNT
                                                                        TRAN. CODE                       RECEIVED
JAMD, LLC (6.3% ownership)                                                1129-000                        $16,554.00
Tark, LLC (10% ownership)                                                 1129-000                        $12,217.93
TPC 2 & 6 Member 1, LLC                                                   1129-000                        $38,000.00
FDIC Settlement                                                           1249-000                        $52,500.00
TOTAL GROSS RECEIPTS                                                                                     $119,271.93

 The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.

 EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES
 NONE


 EXHIBIT 3 – SECURED CLAIMS

 CLAIM          CLAIMANT           UNIFORM                CLAIMS            CLAIMS   CLAIMS                CLAIMS
NUMBER                            TRAN. CODE           SCHEDULED          ASSERTED ALLOWED                   PAID
              Bank of America        4110-000             $248,000.00             $0.00          $0.00            $0.00
TOTAL SECURED CLAIMS                                      $248,000.00             $0.00          $0.00            $0.00


 EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

       PAYEE               UNIFORM                   CLAIMS   CLAIMS                   CLAIMS              CLAIMS
                          TRAN. CODE              SCHEDULED ASSERTED                 ALLOWED                 PAID
William A. Leonard,          2100-000                         NA      $9,213.60           $9,213.60        $9,213.60
Jr., Trustee
William A. Leonard,          2200-000                         NA         $71.45             $71.45            $71.45
Jr., Trustee
Rabobank, N.A.               2600-000                         NA        $786.52            $786.52           $786.52
SCHWARTZER &                 3210-000                         NA     $49,885.00        $49,885.00         $49,885.00
McPHERSON LAW
FIRM, Attorney for
Trustee
SCHWARTZER &                 3220-000                         NA      $3,572.20           $3,572.20        $3,572.20
McPHERSON LAW
FIRM, Attorney for
Trustee
TOTAL CHAPTER 7 ADMIN. FEES AND                               NA     $63,528.77        $63,528.77         $63,528.77
CHARGES


 EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES
 NONE


 EXHIBIT 6 – PRIORITY UNSECURED CLAIMS
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 NONE


 EXHIBIT 7 – GENERAL UNSECURED CLAIMS

 CLAIM          CLAIMANT          UNIFORM         CLAIMS          CLAIMS   CLAIMS            CLAIMS
NUMBER                           TRAN. CODE    SCHEDULED        ASSERTED ALLOWED               PAID
     1        JEFFERSON           7100-000           $250.00       $177.24       $177.24         $0.52
              CAPITAL
              SYSTEMS LLC
     2        FDIC AS             7100-000     $16,995,005.17 $18,977,740.5 $18,977,740.    $55,346.74
              RECEIVER OF                                                 7          57
              LA JOLLA
              BANK, FSB
     3        FLANGAS             7100-000        $145,000.00   $135,748.46   $135,748.46     $395.90
              MCMILLAN
              LAW GROUP,
              INC.
              Citicards           7100-000          $8,279.69         $0.00         $0.00        $0.00
              Nevada State        7100-000     $14,800,000.00         $0.00         $0.00        $0.00
              Bank
              Stancorp            7100-000      $3,076,000.00         $0.00         $0.00        $0.00
TOTAL GENERAL UNSECURED CLAIMS                 $35,024,534.86 $19,113,666.2 $19,113,666.    $55,743.16
                                                                          7          27




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                                                                        INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                      Page No:    1                     Exhibit 8
                                                                                         ASSET CASES

Case No.:                    13-20495-MKN                                                                                                               Trustee Name:                             William A. Leonard, Jr.
Case Name:                   Tarkanian, Daniel John AND Tarkanian, Amy Michelle                                                                         Date Filed (f) or Converted (c):          12/19/2013 (f)
For the Period Ending:       4/13/2016                                                                                                                  §341(a) Meeting Date:                     01/22/2014
                                                                                                                                                        Claims Bar Date:                          08/07/2014

                                 1                                             2                             3                                 4                         5                                       6

                        Asset Description                                   Petition/                Estimated Net Value                   Property                 Sales/Funds             Asset Fully Administered (FA)/
                         (Scheduled and                                   Unscheduled               (Value Determined by                   Abandoned                Received by            Gross Value of Remaining Assets
                    Unscheduled (u) Property)                                Value                         Trustee,                  OA =§ 554(a) abandon.           the Estate
                                                                                                   Less Liens, Exemptions,
                                                                                                      and Other Costs)

 Ref. #
1       3008 Campbell                                                         $450,000.00                           $202,000.00                                               $0.00                                          FA
Asset Notes:       Orig. Asset Memo: Imported from original petition Doc# 12;Imported from Amended Doc#: 158;
2       Cash on hand c                                                               $42.00                               $42.00                                              $0.00                                          FA
Asset Notes:      Orig. Asset Memo: Imported from original petition Doc# 12; Imported from Amended Doc#: 115; Imported from Amended Doc#: 144; Imported from Amended Doc#: 158; Imported from
                 Amended Doc#: 170; Original asset description: Cash on hand
3       Micellaneous Household Goods and Furnishings                          $10,000.00                               $0.00                                        $0.00                                                    FA
Asset Notes:       Orig. Asset Memo: Imported from original petition Doc# 12; Imported from Amended Doc#: 115; Original asset description: Miscellaneous Household Goods and Furnishings;
4       1 upright piano                                                             $250.00                                  $0.00                                            $0.00                                          FA
Asset Notes:       Orig. Asset Memo: Imported from original petition Doc# 12; Imported from Amended Doc#: 115; Imported from Amended Doc#: 144; Imported from Amended Doc#: 158;
5       Miscellanious children and adult books, no colle                            $100.00                                  $0.00                                            $0.00                                          FA
Asset Notes:       Orig. Asset Memo: Imported from original petition Doc# 12; Imported from Amended Doc#: 115; Original asset description: Miscellaneous children and adult books, no colle;
6       Family Pictures                                                              $50.00                                  $0.00                                            $0.00                                          FA
Asset Notes:       Orig. Asset Memo: Imported from original petition Doc# 12; Imported from Amended Doc#: 115; Imported from Amended Doc#: 144; Imported from Amended Doc#: 158;
7      Miscellaneous used wearing apparel for                                   $500.00                               $0.00                                                   $0.00                                          FA
       Husband,
Asset Notes:     Orig. Asset Memo: Imported from original petition Doc# 12; Imported from Amended Doc#: 144; Imported from Amended Doc#: 158;
8       Wedding Rings                                                              Unknown                                   $0.00                                            $0.00                                          FA
Asset Notes:       Orig. Asset Memo: Imported from original petition Doc# 12; Imported from Amended Doc#: 115; Imported from Amended Doc#: 144; Imported from Amended Doc#: 158;
9       Miscellaneous jewelry                                                      $3,000.00                                 $0.00                                            $0.00                                          FA
Asset Notes:      Orig. Asset Memo: Imported from original petition Doc# 12; Imported from Amended Doc#: 115; Original asset description: Miscellaneous jewelry; Imported from Amended Doc#: 144;
                 Original asset description: Miscellaneous Jewelry; Imported from Amended Doc#: 158;
10      Shot Gun                                                                   $200.00                              $0.00                                               $0.00                                            FA
Asset Notes:       Orig. Asset Memo: Imported from original petition Doc# 12; Imported from Amended Doc#: 115; Original asset description: Shotgun;
11      SIG P 32 gun                                                                $150.00                                  $0.00                                            $0.00                                          FA
Asset Notes:      Orig. Asset Memo: Imported from original petition Doc# 12; Imported from Amended Doc#: 115; Imported from Amended Doc#: 144; Imported from Amended Doc#: 158; Imported from
                 Amended Doc#: 170
12      American General Life Insurance Policy                                   $430.00                               $0.00                                        $0.00                                                    FA
Asset Notes:       Orig. Asset Memo: Imported from original petition Doc# 12; Imported from Amended Doc#: 115; Imported from Amended Doc#: 144; Imported from Amended Doc#: 158;
13      American General Life Insurance Policy                                     $2,580.00                                 $0.00                                            $0.00                                          FA
Asset Notes:       Orig. Asset Memo: Imported from original petition Doc# 12; Imported from Amended Doc#: 115; Imported from Amended Doc#: 144; Imported from Amended Doc#: 158; Imported from
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                                                                         INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                    Page No:    2                     Exhibit 8
                                                                                          ASSET CASES

Case No.:                     13-20495-MKN                                                                                                             Trustee Name:                             William A. Leonard, Jr.
Case Name:                    Tarkanian, Daniel John AND Tarkanian, Amy Michelle                                                                       Date Filed (f) or Converted (c):          12/19/2013 (f)
For the Period Ending:        4/13/2016                                                                                                                §341(a) Meeting Date:                     01/22/2014
                                                                                                                                                       Claims Bar Date:                          08/07/2014

                                 1                                             2                             3                                 4                        5                                       6

                          Asset Description                                 Petition/                Estimated Net Value                   Property                Sales/Funds             Asset Fully Administered (FA)/
                           (Scheduled and                                 Unscheduled               (Value Determined by                   Abandoned               Received by            Gross Value of Remaining Assets
                      Unscheduled (u) Property)                              Value                         Trustee,                  OA =§ 554(a) abandon.          the Estate
                                                                                                   Less Liens, Exemptions,
                                                                                                      and Other Costs)

                  Amended Doc#: 170
 Ref. #
14      Childress Interest in Education Fund, John                             $66,768.00                         $66,768.00                                                  $0.00                                         FA
        Hanco
 Asset Notes:      Orig. Asset Memo: Imported from original petition Doc# 12; Imported from Amended Doc#: 115; Original asset description: Childrens Interest in Education Fund, John Hanco;
15       Scottrade Roth IRA (Danny)                                             $78,478.06                                   $0.00                                           $0.00                                          FA
Asset Notes:       Orig. Asset Memo: Imported from original petition Doc# 12; Imported from Amended Doc#: 115; Imported from Amended Doc#: 144; Imported from Amended Doc#: 158; Imported from
                  Amended Doc#: 170
16       Invesco Roth IRA                                                      $46,113.94                               $0.00                                        $0.00                                                  FA
Asset Notes:        Orig. Asset Memo: Imported from original petition Doc# 12; Imported from Amended Doc#: 115; Imported from Amended Doc#: 144; Imported from Amended Doc#: 158;
17       Invesco Roth IRA                                                       $45,628.14                                   $0.00                                           $0.00                                          FA
Asset Notes:        Orig. Asset Memo: Imported from original petition Doc# 12; Imported from Amended Doc#: 115; Imported from Amended Doc#: 144; Imported from Amended Doc#: 158;
18       Invesco SEP IRA                                                       $220,989.78                                   $0.00                                           $0.00                                          FA
Asset Notes:        Orig. Asset Memo: Imported from original petition Doc# 12; Imported from Amended Doc#: 115; Imported from Amended Doc#: 144; Imported from Amended Doc#: 158;
19       American Fund IRA                                                     $173,166.13                                   $0.00                                           $0.00                                          FA
Asset Notes:        Orig. Asset Memo: Imported from original petition Doc# 12; Imported from Amended Doc#: 115; Imported from Amended Doc#: 144; Imported from Amended Doc#: 158;
20       American Funds IRA                                                        $9,792.67                                 $0.00                                           $0.00                                          FA
Asset Notes:        Orig. Asset Memo: Imported from original petition Doc# 12; Imported from Amended Doc#: 115; Imported from Amended Doc#: 144; Imported from Amended Doc#: 158;
21       Scotttrade Roth IRA (Amy)                                              $10,691.05                                   $0.00                                           $0.00                                          FA
Asset Notes:        Orig. Asset Memo: Imported from original petition Doc# 12; Imported from Amended Doc#: 115; Original asset description: Scottrade Roth IRA (Amy);
22       TPC Manager, LLC                                                          Unknown                                   $0.00                                           $0.00                                          FA
Asset Notes:     Orig. Asset Memo: Imported from original petition Doc# 12; Imported from Amended Doc#: 115; Original asset description: SITO stock- 5000 shares at Tarkanian Basketball;Imported from
                Amended Doc#: 158;
23       JAMD, LLC (6.3% ownership)                                               $0.00                                $0.00                                         $16,554.00                                             FA
Asset Notes:        Orig. Asset Memo: Imported from original petition Doc# 12; Imported from Amended Doc#: 144; Imported from Amended Doc#: 158;
24       Tark, LLC (10% ownership)                                                 Unknown                                   $0.00                                      $12,217.93                                          FA
Asset Notes:        Orig. Asset Memo: Imported from original petition Doc# 12; Imported from Amended Doc#: 144; Imported from Amended Doc#: 158;
25       TPC 2 & 6, LLC                                                               $0.00                                  $0.00                                           $0.00                                          FA
Asset Notes:        Orig. Asset Memo: Imported from original petition Doc# 12; Imported from Amended Doc#: 144; Imported from Amended Doc#: 158;
26       TPC 4, LLC                                                                   $0.00                                  $0.00                                           $0.00                                          FA
Asset Notes:        Orig. Asset Memo: Imported from original petition Doc# 12; Imported from Amended Doc#: 144; Imported from Amended Doc#: 158;
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                                                                       INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                  Page No:    3                     Exhibit 8
                                                                                        ASSET CASES

Case No.:                     13-20495-MKN                                                                                                         Trustee Name:                             William A. Leonard, Jr.
Case Name:                    Tarkanian, Daniel John AND Tarkanian, Amy Michelle                                                                   Date Filed (f) or Converted (c):          12/19/2013 (f)
For the Period Ending:        4/13/2016                                                                                                            §341(a) Meeting Date:                     01/22/2014
                                                                                                                                                   Claims Bar Date:                          08/07/2014

                                 1                                            2                          3                                 4                        5                                       6

                          Asset Description                               Petition/               Estimated Net Value                   Property               Sales/Funds             Asset Fully Administered (FA)/
                           (Scheduled and                               Unscheduled              (Value Determined by                   Abandoned              Received by            Gross Value of Remaining Assets
                      Unscheduled (u) Property)                            Value                        Trustee,                  OA =§ 554(a) abandon.         the Estate
                                                                                                Less Liens, Exemptions,
                                                                                                   and Other Costs)

27      TPC 2 & 6 Member 1, LLC                                                      $0.00                                $0.00                                    $38,000.00                                           FA
Asset Notes:       Orig. Asset Memo: Imported from original petition Doc# 12; Imported from Amended Doc#: 144; Imported from Amended Doc#: 158;
28      TPC 2 & 6 Member 2, LLC                                                      $0.00                                $0.00                                          $0.00                                          FA
Asset Notes:       Orig. Asset Memo: Imported from original petition Doc# 12; Imported from Amended Doc#: 144; Imported from Amended Doc#: 158;
29      TPC Property Manager, LLC                                                    $0.00                                $0.00                                          $0.00                                          FA
Asset Notes:       Orig. Asset Memo: Imported from original petition Doc# 12; Imported from Amended Doc#: 144; Imported from Amended Doc#: 158;
30      TPC Manager, LLC                                                             $0.00                                $0.00                                          $0.00                                          FA
Asset Notes:       Orig. Asset Memo: Imported from original petition Doc# 12; Imported from Amended Doc#: 144;
31      Odyssey Van                                                           $12,000.00                                  $0.00                                          $0.00                                          FA
Asset Notes:       Orig. Asset Memo: Imported from original petition Doc# 12; Imported from Amended Doc#: 115; Imported from Amended Doc#: 144; Imported from Amended Doc#: 158;
32      Dog and Cat                                                                  $0.00                                $0.00                                          $0.00                                          FA
Asset Notes:       Orig. Asset Memo: Imported from original petition Doc# 12; Imported from Amended Doc#: 115; Imported from Amended Doc#: 144; Imported from Amended Doc#: 158;
33      Receivable owing to Daniel Tarkanian from                             $16,554.00                          $16,554.00                                             $0.00                                          FA
        Tarkan
Asset Notes:       Orig. Asset Memo:
                 Not originally scheduled; Imported from Amended Doc#: 115; Imported from Amended Doc#: 144; Imported from Amended Doc#: 158; Imported from Amended Doc#: 170
34      Receivable owing to Daniel Tarkanian from Tark,                      $12,217.93                        $12,217.93                                         $0.00                                                 FA
Asset Notes:      Orig. Asset Memo:
                 Not originally scheduled; Imported from Amended Doc#: 144; Imported from Amended Doc#: 158; Imported from Amended Doc#: 170
35      Miscellaneous Household Goods and                     (u)             $8,070.00                              $0.00                                               $0.00                                          FA
        Furnishings c
Asset Notes:        Orig. Asset Memo:
                  Not originally scheduled; Imported from Amended Doc#: 170
36      1 upright piano c                                      (u)                 $300.00                                $0.00                                          $0.00                                          FA
Asset Notes:     Orig. Asset Memo:
                Not originally scheduled; Imported from Amended Doc#: 170
37      Wedding Rings c                                      (u)                  $8,500.00                               $0.00                                          $0.00                                          FA
Asset Notes:      Orig. Asset Memo:
                 Not originally scheduled; Imported from Amended Doc#: 170
38      Miscellaneous jewelry w                               (u)                 $8,275.00                               $0.00                                          $0.00                                          FA
Asset Notes:      Orig. Asset Memo:
                 Not originally scheduled; Imported from Amended Doc#: 170
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                                                                     INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                  Page No:    4                     Exhibit 8
                                                                                      ASSET CASES

Case No.:                   13-20495-MKN                                                                                                         Trustee Name:                             William A. Leonard, Jr.
Case Name:                  Tarkanian, Daniel John AND Tarkanian, Amy Michelle                                                                   Date Filed (f) or Converted (c):          12/19/2013 (f)
For the Period Ending:      4/13/2016                                                                                                            §341(a) Meeting Date:                     01/22/2014
                                                                                                                                                 Claims Bar Date:                          08/07/2014

                                1                                          2                              3                              4                        5                                       6

                        Asset Description                               Petition/                  Estimated Net Value                Property               Sales/Funds             Asset Fully Administered (FA)/
                         (Scheduled and                               Unscheduled                 (Value Determined by                Abandoned              Received by            Gross Value of Remaining Assets
                    Unscheduled (u) Property)                            Value                           Trustee,               OA =§ 554(a) abandon.         the Estate
                                                                                                 Less Liens, Exemptions,
                                                                                                    and Other Costs)

39      FDIC Settlement                                      (u)                 $0.00                             $52,500.00                                    $52,500.00                                            FA


TOTALS (Excluding unknown value)                                                                                                                                                        Gross Value of Remaining Assets
                                                                         $1,184,846.70                            $350,081.93                                   $119,271.93                                          $0.00



     Major Activities affecting case closing:
                     TRUSTEES DISTRIBUTION REPORT (TDR).


 Initial Projected Date Of Final Report (TFR):      12/31/2015                           Current Projected Date Of Final Report (TFR):       10/14/2015               /s/ WILLIAM A. LEONARD, JR.
                                                                                                                                                                      WILLIAM A. LEONARD, JR.
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                                                                              CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          13-20495-MKN                                                                                     Trustee Name:                        William A. Leonard, Jr.
 Case Name:                        Tarkanian, Daniel John AND Tarkanian, Amy Michelle                                               Bank Name:                           Rabobank, N.A.
Primary Taxpayer ID #:             **-***5865                                                                                       Checking Acct #:                     ******7466
Co-Debtor Taxpayer ID #:                                                                                                            Account Title:                       Checking Account
For Period Beginning:              12/19/2013                                                                                       Blanket bond (per case limit):       $1,000,000.00
For Period Ending:                 4/13/2016                                                                                        Separate bond (if applicable):

       1                2                                  3                                                    4                                          5                 6                       7

   Transaction       Check /                             Paid to/                       Description of Transaction                   Uniform            Deposit        Disbursement                Balance
      Date            Ref. #                          Received From                                                                 Tran Code             $                 $


03/03/2015            (23)     TARKANIAN BASKETBALL                          Per Order Dkt 279                                       1129-000          $16,554.00                                    $16,554.00
                               ACADEMY
03/03/2015            (24)     TARK, LLC                                     Per order Dkt 278                                       1129-000          $12,217.93                                    $28,771.93
03/03/2015            (27)     DANIEL AND AMY TARKANIAN                      Per ORder Dkt 280                                       1129-000          $38,000.00                                    $66,771.93
03/17/2015            (23)     Tarkanian Basketball                          check was returned for deposit 100001-2                 1129-000          ($16,554.00)                                  $50,217.93
03/25/2015            (23)     TARKANIAN BASKETBALL                          Payment in Full for returned check                      1129-000          $16,554.00                                    $66,771.93
                               ACADEMY, INC
03/31/2015                     Rabobank, N.A.                                Bank and Technology Services Fee                        2600-000                                       $79.29           $66,692.64
04/09/2015            (39)     FDIC                                          FDIC Settlement Docket#289                              1249-000          $52,500.00                                   $119,192.64
04/30/2015                     Rabobank, N.A.                                Bank and Technology Services Fee                        2600-000                                      $148.78          $119,043.86
05/29/2015                     Rabobank, N.A.                                Bank and Technology Services Fee                        2600-000                                      $165.51          $118,878.35
06/25/2015            101      SCHWARTZER & McPHERSON LAW                    ATTORNEY FEES Docket#307                                3210-000                                $49,885.00              $68,993.35
                               FIRM
06/25/2015            102      SCHWARTZER & McPHERSON LAW                    ATTORNEY EXPENSES Docket#307                            3220-000                                    $3,572.20           $65,421.15
                               FIRM
06/30/2015                     Rabobank, N.A.                                Bank and Technology Services Fee                        2600-000                                      $182.38           $65,238.77
07/31/2015                     Rabobank, N.A.                                Bank and Technology Services Fee                        2600-000                                      $120.02           $65,118.75
08/31/2015                     Rabobank, N.A.                                Bank and Technology Services Fee                        2600-000                                       $90.54           $65,028.21
01/05/2016            103      William A. Leonard, Jr.                       Dividend paid 100.00% on $9,213.60, Trustee             2100-000                                    $9,213.60           $55,814.61
                                                                             Compensation; Reference:
01/05/2016            104      William A. Leonard, Jr.                       Dividend paid 100.00% on $71.45, Trustee Expenses;      2200-000                                       $71.45           $55,743.16
                                                                             Reference:
01/05/2016            105      FDIC AS RECEIVER OF LA JOLLA                  Dividend paid 0.29% on $18,977,740.57; Claim# 2;        7100-000                                $55,346.74                  $396.42
                               BANK, FSB                                     Filed: $18,977,740.57; Reference:
01/05/2016            106      FLANGAS MCMILLAN LAW GROUP,                   Dividend paid 0.29% on $135,748.46; Claim# 3; Filed:    7100-000                                      $395.90                   $0.52
                               INC.                                          $135,748.46; Reference:
01/05/2016            107      Clerk, U.S. Bankruptcy Court                  COMBINED SMALL CHECK                                    7100-000                                        $0.52                   $0.00




                                                                                                                                    SUBTOTALS          $119,271.93          $119,271.93
                                                                                                                                                                                Page No: 2                Exhibit 9
                                                 Case 13-20495-mkn                Doc 318              Entered
                                                                                                       FORM 205/05/16 10:23:59                    Page 10 of 11
                                                                             CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                          13-20495-MKN                                                                                                Trustee Name:                         William A. Leonard, Jr.
Case Name:                        Tarkanian, Daniel John AND Tarkanian, Amy Michelle                                                          Bank Name:                            Rabobank, N.A.
Primary Taxpayer ID #:            **-***5865                                                                                                  Checking Acct #:                      ******7466
Co-Debtor Taxpayer ID #:                                                                                                                      Account Title:                        Checking Account
For Period Beginning:             12/19/2013                                                                                                  Blanket bond (per case limit):        $1,000,000.00
For Period Ending:                4/13/2016                                                                                                   Separate bond (if applicable):

      1                 2                                3                                                     4                                                    5                   6                       7

  Transaction        Check /                         Paid to/                          Description of Transaction                              Uniform           Deposit          Disbursement                Balance
     Date             Ref. #                      Received From                                                                               Tran Code            $                   $


                                                                                                 TOTALS:                                                         $119,271.93           $119,271.93                      $0.00
                                                                                                     Less: Bank transfers/CDs                                          $0.00                 $0.00
                                                                                                 Subtotal                                                        $119,271.93           $119,271.93
                                                                                                     Less: Payments to debtors                                         $0.00                 $0.00
                                                                                                 Net                                                             $119,271.93           $119,271.93



                     For the period of 12/19/2013 to 4/13/2016                                                             For the entire history of the account between 03/03/2015 to 4/13/2016

                     Total Compensable Receipts:                            $119,271.93                                    Total Compensable Receipts:                               $119,271.93
                     Total Non-Compensable Receipts:                              $0.00                                    Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                          $119,271.93                                    Total Comp/Non Comp Receipts:                             $119,271.93
                     Total Internal/Transfer Receipts:                            $0.00                                    Total Internal/Transfer Receipts:                               $0.00


                     Total Compensable Disbursements:                       $119,271.93                                    Total Compensable Disbursements:                          $119,271.93
                     Total Non-Compensable Disbursements:                         $0.00                                    Total Non-Compensable Disbursements:                            $0.00
                     Total Comp/Non Comp Disbursements:                     $119,271.93                                    Total Comp/Non Comp Disbursements:                        $119,271.93
                     Total Internal/Transfer Disbursements:                       $0.00                                    Total Internal/Transfer Disbursements:                          $0.00
                                                                                                                                                                        Page No: 3                Exhibit 9
                                                 Case 13-20495-mkn               Doc 318              Entered
                                                                                                      FORM 205/05/16 10:23:59             Page 11 of 11
                                                                            CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                         13-20495-MKN                                                                                         Trustee Name:                         William A. Leonard, Jr.
Case Name:                       Tarkanian, Daniel John AND Tarkanian, Amy Michelle                                                   Bank Name:                            Rabobank, N.A.
Primary Taxpayer ID #:           **-***5865                                                                                           Checking Acct #:                      ******7466
Co-Debtor Taxpayer ID #:                                                                                                              Account Title:                        Checking Account
For Period Beginning:            12/19/2013                                                                                           Blanket bond (per case limit):        $1,000,000.00
For Period Ending:               4/13/2016                                                                                            Separate bond (if applicable):

      1                 2                                3                                                    4                                             5                   6                       7

  Transaction        Check /                         Paid to/                         Description of Transaction                       Uniform           Deposit          Disbursement                Balance
     Date             Ref. #                      Received From                                                                       Tran Code            $                   $




                                                                                                                                                                                    NET                 ACCOUNT
                                                                                                TOTAL - ALL ACCOUNTS                           NET DEPOSITS                    DISBURSE                BALANCES

                                                                                                                                                       $119,271.93           $119,271.93                        $0.00




                     For the period of 12/19/2013 to 4/13/2016                                                     For the entire history of the case between 12/19/2013 to 4/13/2016

                     Total Compensable Receipts:                           $119,271.93                             Total Compensable Receipts:                               $119,271.93
                     Total Non-Compensable Receipts:                             $0.00                             Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                         $119,271.93                             Total Comp/Non Comp Receipts:                             $119,271.93
                     Total Internal/Transfer Receipts:                           $0.00                             Total Internal/Transfer Receipts:                               $0.00


                     Total Compensable Disbursements:                      $119,271.93                             Total Compensable Disbursements:                          $119,271.93
                     Total Non-Compensable Disbursements:                        $0.00                             Total Non-Compensable Disbursements:                            $0.00
                     Total Comp/Non Comp Disbursements:                    $119,271.93                             Total Comp/Non Comp Disbursements:                        $119,271.93
                     Total Internal/Transfer Disbursements:                      $0.00                             Total Internal/Transfer Disbursements:                          $0.00
